Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 1 of 32 Page ID #:1196
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 2 of 32 Page ID #:1197
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 3 of 32 Page ID #:1198




                    EXHIBIT 1
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 4 of 32 Page ID #:1199
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 5 of 32 Page ID #:1200
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 6 of 32 Page ID #:1201
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 7 of 32 Page ID #:1202
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 8 of 32 Page ID #:1203
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 9 of 32 Page ID #:1204
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 10 of 32 Page ID #:1205
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 11 of 32 Page ID #:1206
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 12 of 32 Page ID #:1207
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 13 of 32 Page ID #:1208
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 14 of 32 Page ID #:1209
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 15 of 32 Page ID #:1210
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 16 of 32 Page ID #:1211




                    EXHIBIT 2
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 17 of 32 Page ID #:1212
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 18 of 32 Page ID #:1213




                    EXHIBIT 3
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 19 of 32 Page ID #:1214




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         glinkh@glancylaw.com
  14
        Attorneys for Plaintiff Bernadine Griffith
  15
  16                               UNITED STATES DISTRICT COURT
  17                CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
  18
  19 BERNADINE GRIFFITH, PATRICIA                        CASE NO. 5:23-cv-00964-SB-E
     SHIH; RHONDA IRVIN; MATTHEW
  20 RAUCH; JACOB WATTERS,                               PLAINTIFFS’ REQUESTS FOR
     individually and on behalf of all others            PRODUCTION OF DOCUMENTS
  21 similarly situated,                                 AND THINGS, SET 3 (NOS. 69-72)
  22                      Plaintiff,                     Assigned to Hon. Stanley Blumenfeld,
                                                         Jr.
  23                vs.                                  Courtroom 6C
  24 TIKTOK, INC, a corporation;                         Action Filed: May 26, 2023
     BYTEDANCE, INC., a corporation,                     Trial Date:   9/30/2024
  25
               Defendants.
  26
  27
  28
        3898103.2
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 20 of 32 Page ID #:1215




    1 PROPOUNDING PARTY: PLAINTIFFS GRIFFITH, SHIH, IRVIN, RAUCH,
    2                                      WATTERS
    3 RESPONDING PARTY:                    DEFENDANTS TIKTOK, INC. AND BYTEDANCE,
    4                                      INC.
    5 SET NO.:                             THREE (NOS. 69 - 72)
    6               Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs,
    7 by and through their attorneys, hereby request that Defendants TikTok, Inc., and
    8 ByteDance, Inc. (“Defendants”), produce for inspection and copying the following
    9 described documents in its possession, custody, or control. The requested documents
  10 are to be produced or made available for inspection at the offices of Susman Godfrey,
  11 1900 Avenue of the Stars, Suite 1400, Los Angeles, CA 90067 within the time period
  12 permitted by the Federal Rules of Civil Procedure. These requests are continuing in
  13 nature, requiring Defendants to supplement its answers and responses, setting forth
  14 any information within the scope of these discovery requests that may be acquired
  15 by Defendants subsequent to its original answers.
  16                                              DEFINITIONS
  17                1.    The term “All” includes the word “any,” and vice versa.
  18                2.    The term “Communication” is to be construed in the broadest possible
  19 sense, and includes, but is not limited to, any transmission of information in any form
  20 and of any kind, including electronic, oral, or written transmission, whether such was
  21 by chance, prearranged, formal or informal, including conversations in person, notes
  22 of conversations, letters, electronic mail, telephone conversations, facsimile
  23 transmissions, correspondence or memoranda, formal statements, press releases or
  24 newspaper articles.
  25                3.    The term “Document” and “Documents” shall be synonymous in
  26 meaning and equal to the broadest meaning provided by Rule 34 of the Federal Rules
  27 of Civil Procedure including, without limitation, original and any non-identical copy
  28 of every kind of written, printed, typed, recorded, or graphic matter, however
        3898103.2
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 21 of 32 Page ID #:1216




    1 produced or reproduced, including all correspondence, letters, telegrams, telexes,
    2 messages, memoranda, instructions, emails, handwritten or recorded notes, and all
    3 records, schedules, reports, surveys, calculations, transcripts, notes, time cards,
    4 personal expense reports, appointment books, calendars, plans, purchase orders,
    5 contracts, subcontracts, charts, Communications, database, data compilation, diary,
    6 draft, drawing, electronically stored information, emails, fax, floppy disk, graph,
    7 hard drive, image, index, instant message, letter, log, magnetic tape, memorandum,
    8 note, optical disk, photograph, report, sound recording, spreadsheet, storage device,
    9 text message, version, voicemail or writing. This term shall apply to any Document,
  10 whether in hard copy or electronic form, on any computers or other system. Any
  11 copy of a Document that differs in any respect.
  12               4.   The term “Identify” or “Identity” means to state or a statement of:
  13                    a.    in the case of an entity, its full legal name, corporate form,
  14 present or last known address, and relevant divisions;
  15                    b.    in the case of a natural person, his or her full name, present or
  16 last known address, and present or last known place of employment and
  17 employment title. If the person is not a party or present employee of a party, said
  18 telephone numbers shall be provided;
  19                    c.    in the case of a communication, its date, type (e.g., telephone
  20 conversation, in-person discussion, email), the place where it occurred, the identity
  21 of the person who made the communication, the identity of the person who received
  22 the communication, the identity of each other person when it was made, and the
  23 subject matter discussed;
  24                    d.    in the case of a document, the title of the document, the author,
  25 the title or position of the author, the addressee, each recipient, the type of
  26 document, the subject matter, and the date of preparation;
  27                    e.    in the case of an agreement, its date, the place where it occurred,
  28 the identity of all persons who were parties to the agreement, the identity of each
       3898103.2
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            PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 22 of 32 Page ID #:1217




    1 person who has knowledge of the agreement and all other persons present when it
    2 was made, and the subject matter of the agreement; and
    3                    f.    in the case of time periods, the date(s).
    4               5.   The term “TikTok” means TikTok, Inc. and any of its directors,
    5 officers, consultants, agents, representatives, predecessors in interest, subsidiaries,
    6 assignees, licensees, employees, attorneys and any other persons acting on TikTok
    7 LLC’s behalf, including contractors.
    8      6.    The term “ByteDance” means ByteDance, Inc. and any of its directors,
   9 officers, consultants, agents, representatives, predecessors in interest, subsidiaries,
  10 assignees, licensees, employees, attorneys and any other persons acting on
  11 ByteDance LLC’s behalf, including contractors.
  12      7.    The term “You,” “Your,” or “Defendants” means or refers to TikTok
  13 and ByteDance, and any of their attorneys, agents, representatives, predecessors,
  14 successors, assigns, and any Persons acting or purporting to act on its interest.
  15                8.   The term “Person(s)” includes without limitation any natural person,
  16 firm, association, organization, partnership, business, trust, corporation, or public
  17 entity. Any reference to a Person that is a business entity and is not otherwise
  18 defined includes that Person’s predecessors, if any (including any pre-existing
  19 Person that at any time became part of that entity after merger or acquisition),
  20 successors, parents divisions, subsidiaries, affiliates, franchisors and franchisees,
  21 and any other Person acting for or on behalf of them.
  22                9.   The terms “concerning,” “relate,” or “relating to” include addressing,
  23 analyzing, concerning, constituting, containing, commenting on, discussing,
  24 describing, identifying, in connection with, referring to, reflecting, relating, relating
  25 to, reporting on, stating, or dealing with, in whole or in part, in addition to their
  26 customary and usual meanings, and shall be construed in the broadest sense
  27 possible.
  28       10.           The term “TikTok SDK” refers to the TikTok Pixel, the TikTok Events
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 23 of 32 Page ID #:1218




    1 API, and all similar TikTok software installed on Websites and/or Websites’
    2 servers.
    3               11.   The term “Data” refers to any and all digitally stored and transmitted
    4 information on non-TikTok users collected through the TikTok SDK. To the extent
    5 that Defendants do not disaggregate such information between TikTok users and
    6 non-TikTok users, “Data” shall refer to any and all digitally stored and transmitted
    7 information on both TikTok users and non-TikTok users collected through the
    8 TikTok SDK.
    9               12.   The term “Website” refers to websites that You do not own that use or
  10 previously used the TikTok SDK.
  11                                          INSTRUCTIONS
  12                1.    Responses: Respond to each request for production by producing the
  13 requested Documents in their entirety, notwithstanding the fact that portions thereof
  14 may contain information not requested, along with every family document (such as
  15 any appendices, attachments, cover letters, exhibits, and schedules), that is in Your
  16 possession, custody, or control. If there are no Documents in Your possession,
  17 custody, or control that are responsive to a particular request for production, provide
  18 a written response stating so.
  19                2.    Time Period: The time period for these requests is the start of the Class
  20 Period or January 1, 2020, whichever is earlier, through the present (and ongoing)
  21 unless stated otherwise.
  22                3.    Construction: For purposes of reading, interpreting, or construing the
  23 scope of the Definitions, Instructions, and Requests, all of the terms shall be given
  24 their most expansive and inclusive interpretation. This includes the following:
  25                      a.    The singular form of a word shall be interpreted as plural and
  26 vice versa.
  27                      b.    “And,” “or,” as well as “and/or” shall be construed either
  28 disjunctively or conjunctively as necessary to bring within the scope of the Request
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 24 of 32 Page ID #:1219




    1 any document that might otherwise be construed to be outside the scope of the
    2 Request.
    3                    c.    “All,” “each” and “any” shall be construed as “all, each, and
    4 any.”
    5                    d.    The masculine form of a word shall be interpreted as and shall
    6 include the feminine and vice versa.
    7                    e.    The use of a verb in any particular tense shall be construed as the
    8 use of the verb in all other tenses as necessary to bring within the scope of the
    9 Request any document that might otherwise be construed to be outside the scope of
  10 the Request.
  11                4.   Objections: Each Request shall be responded to fully, unless it is
  12 objected to in good faith. In that case, the reason(s) for the objection shall be stated
  13 in writing and with particularity. If an objection is to only a portion of the Request,
  14 state the objection as to that portion only and respond to any portion of the Request
  15 to which You do not object.
  16                     a.    If You claim any ambiguity in interpreting the Request or any of
  17 the applicable Instructions or Definitions, such claim shall not be used as a basis for
  18 refusing to respond to the Request. In any such circumstance, You should set forth
  19 as part of Your response the language claimed to be ambiguous and the
  20 interpretation chosen or used by You in responding to the Request and You shall
  21 respond as fully as possible notwithstanding any claimed ambiguity or objection.
  22                     b.    If You object to the Request on the ground that it is overly broad,
  23 You are instructed to produce Documents in response as narrowed to conform to
  24 You objection and to state in Your response: (1) how You narrowed the Request;
  25 and (2) all reason(s) why You claim the Request is overly broad.
  26                     c.    The fact that a document has been or could be produced by any
  27 other Person does not relieve You of the obligation to produce such Document, even
  28 if the Document in Your possession, custody, or control is identical in all respects to
        3898103.2
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 25 of 32 Page ID #:1220




    1 the document produced or held by any other Person.
    2               5.   Production: Produce each responsive Document and all family
    3 documents in accordance with the terms of any agreement between the parties
    4 regarding the production of Documents.
    5                    a.    If any Documents are withheld based on an objection to any
    6 Request, all Documents covered by that Request but not subject to the objection
    7 should be produced.
    8                    b.    Documents not otherwise responsive to any of the Requests
    9 herein should be produced if such Documents are attached to a Document or thing
  10 called for by these Requests.
  11                     c.    Unless otherwise specified, the Documents requested include the
  12 responsive Documents in Your actual or constructive possession, control or custody,
  13 as well as the responsive Documents in the actual or constructive possession, control
  14 or custody of Your employees, agents, representatives, managers, or any other
  15 person acting or purporting to act on its behalf, and, unless privileged and such
  16 privilege has not been waived, its attorneys.
  17                     d.    Unless otherwise specified, the Documents requested include all
  18 responsive Documents in Your possession, custody or control that exist in electronic
  19 format (whether on internal or external hard drives; on desktop, laptop, notebook,
  20 tablet, or personal digital assistant computers; servers; CDs; DVDs; USB drives; or
  21 any other electronic medium).
  22                     e.    Documents shall be produced either (a) as they are kept in the
  23 usual course of business (in which case they shall be produced in such fashion as to
  24 identify the department, branch, or office in whose possession it was located and,
  25 where applicable, the natural person in whose possession it was found or the server
  26 or central file in which it was found, and the address of each Document’s
  27 custodian(s)), or (b) organized and labeled to correspond to the specific Request
  28 enumerated in these Requests, with such specific Request identified.
        3898103.2
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 26 of 32 Page ID #:1221




    1                 f.    In producing Documents, You are requested to produce a legible
    2 copy of each Document requested together with all non-identical copies and drafts
    3 of that Document. You shall retain all of the original Documents for inspection or
    4 copying throughout the pendency of this any appeal(s), and any related proceedings.
    5                 g.    Any alteration of a responsive Document, including any
    6 marginal notes, handwritten notes, underlining, date stamps, received stamps,
    7 endorsed or filed stamps, drafts, revisions, modifications, and other versions of a
    8 Document is a responsive Document in its own right and must be produced.
    9            h.     Documents should be produced in full, without abbreviation or
  10 expurgation, regardless of whether You consider the entire Document to be relevant
  11 or responsive.
  12                  i.    In instances where two or more exact duplicates of any
  13 Document exist, the most legible copy shall be produced.
  14      6.    Privilege Log: To the extent You object to or claim a privilege with
  15 respect to any Request in whole or in part, provide the following information for
  16 each Document and each portion of any Document withheld: (a) its Bates Number;
  17 (b) its type (e.g., email, memorandum, spreadsheet, text message); (c) any author(s)
  18 or sender(s); (d) any recipients; (e) any persons cc’d or bcc’d; (f) its date; (g)
  19 whether it was redacted or withheld; (h) the applicable privilege(s) or protection(s);
  20 and (i) a brief description of why the privilege(s) or protection(s) justify the
  21 redaction or withholding. For all persons identified as author(s), sender(s),
  22 recipient(s), or copyees or blind copyees, identify for each person, her affiliation(s),
  23 title(s), and whether she is an attorney.
  24         7.    Lost Materials: If any responsive Document was, but no longer is, in
  25 Your possession, custody, or control, then provide a log that lists for each such
  26 Document (a) its type (e.g., email, memorandum, spreadsheet, text message); (b)
  27 any author(s) or sender(s); (c) any recipients; (d) any persons cc’d; (e) its date; and
  28 (f) its subject matter.
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 27 of 32 Page ID #:1222




    1               8.    Continuing Obligation: These Requests are to be considered
    2 continuing in nature, and You must promptly furnish supplemental responses if any
    3 additional Documents or information is discovered or created after Your responses
    4 are tendered, or if any of Your responses are subsequently determined to be
    5 incorrect, incomplete, or misleading in any respect.
    6                                REQUESTS FOR PRODUCTION
    7 REQUEST FOR PRODUCTION NO. 69:
    8               Documents sufficient to Identify the settings for the TikTok SDK installed on
    9 any of the following Websites and/or the servers related to those websites: Girl
  10 Scouts, WebMD, Rite Aid, Recovery Centers of America, Cerebral, The Vitamin
  11 Shoppe, Weight Watchers, Planned Parenthood Federation of America, SmartAsset,
  12 Happy Money, United Methodist Church, COVID-19 information page of the
  13 Maryland Department of Health, Arizona Department of Economic Security, Hulu,
  14 Etsy, Build-a-Bear Workshop, Upwork, and Feeding America.
  15 REQUEST FOR PRODUCTION NO. 70:
  16                Documents sufficient to Identify the fields of Data collected or sent through
  17 the TikTok SDK installed on any of the following Websites and/or the servers
  18 related to those websites: Girl Scouts, WebMD, Rite Aid, Recovery Centers of
  19 America, Cerebral, The Vitamin Shoppe, Weight Watchers, Planned Parenthood
  20 Federation of America, SmartAsset, Happy Money, United Methodist Church,
  21 COVID-19 information page of the Maryland Department of Health, Arizona
  22 Department of Economic Security, Hulu, Etsy, Build-a-Bear Workshop, Upwork,
  23 and Feeding America.
  24 REQUEST FOR PRODUCTION NO. 71:
  25                Documents sufficient to Identify the date on which the TikTok SDK was
  26 installed and/or uninstalled on any of the following Websites and/or the servers
  27 related to those websites: Girl Scouts, WebMD, Rite Aid, Recovery Centers of
  28 America, Cerebral, The Vitamin Shoppe, Weight Watchers, Planned Parenthood
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 28 of 32 Page ID #:1223




    1 Federation of America, SmartAsset, Happy Money, United Methodist Church,
    2 COVID-19 information page of the Maryland Department of Health, Arizona
    3 Department of Economic Security, Hulu, Etsy, Build-a-Bear Workshop, Upwork,
    4 and Feeding America.
    5 REQUEST FOR PRODUCTION NO. 72:
    6               Any and all reports or communications relating to the TikTok SDK that You
    7 have sent and/or generated, or allowed to be sent and/or generated, regarding any of
    8 the following websites: Girl Scouts, WebMD, Rite Aid, Recovery Centers of
    9 America, Cerebral, The Vitamin Shoppe, Weight Watchers, Planned Parenthood
  10 Federation of America, SmartAsset, Happy Money, United Methodist Church,
  11 COVID-19 information page of the Maryland Department of Health, Arizona
  12 Department of Economic Security, Hulu, Etsy, Build-a-Bear Workshop, Upwork,
  13 and Feeding America.
  14
  15 DATED: October 31, 2023                   Ekwan E. Rhow
                                               Marc E. Masters
  16
                                               Christopher J. Lee
  17                                           Bird, Marella, Boxer, Wolpert, Nessim,
                                               Drooks, Lincenberg & Rhow, P.C.
  18
  19
  20                                           By:
  21                                                             Christopher J. Lee
  22                                                 Attorneys for Plaintiff Bernadine Griffith

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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 29 of 32 Page ID #:1224




    1                                      PROOF OF SERVICE
    2                             Bernadine Griffith v. TikTok, Inc., et al.
                                          Case No. 5:23-cv-964
    3
        STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    4
            At the time of service, I was over 18 years of age and not a party to this
    5 action. I am employed in the County of Los Angeles, State of California. My
      business address is 1875 Century Park East, 23rd Floor, Los Angeles, CA 90067-
    6 2561.
    7     On October 31, 2023, I served the following document(s) described as
      PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND
    8 THINGS, SET 3 (NOS. 69-72) on the interested parties in this action as follows:
    9                               SEE ATTACHED SERVICE LIST
  10        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused the
     document(s) to be sent from e-mail address jkinsey@birdmarella.com to the persons
  11 at the e-mail addresses listed in the Service List. I did not receive, within a
     reasonable time after the transmission, any electronic message or other indication
  12 that the transmission was unsuccessful.
  13       I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct and that I am employed in the office
  14 of a member of the bar of this Court at whose direction the service was made.
  15                Executed on October 31, 2023, at Los Angeles, California.
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  18                                                   Jessica D. Kinsey
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 30 of 32 Page ID #:1225




    1                                    SERVICE LIST
                               Bernadine Griffith v. TikTok, Inc., et al.
    2                                  Case No. 5:23-cv-964
   3 Michael Gervais                                Yoonhee Gloria Park
     Kalpana Srinivasan                             Greg Fisk
   4 Steven G. Sklaver                              Susman Godfrey L.L.P.
     Susman Godfrey L.L.P.                          1301 Avenue of the Americas, 32nd
   5 Suite 1400                                     Floor
     1900 Avenue of the Stars                       New York, NY 10019
   6 Los Angeles, CA 90067-6029                     Telephone: (212) 336-8330
     Telephone: (310) 789-3130                      Email: gpark@susmangodfrey.com
   7 Email: mgervais@susmangodfrey.com              Email: gfisk@susmangodfrey.com
     Email:                                         Counsel for Plaintiff Bernadine
   8 ksrinivasan@SusmanGodfrey.com                  Griffith
     Email: ssklaver@susmangodfrey.com
   9 Counsel for Plaintiff Bernadine
     Griffith
  10
     Jonathan M. Rotter                             Anthony J. Weibell
  11 Kara M. Wolke                                  Wilson Sonsini Goodrich and Rosati PC
     Gregory B. Linkh                               650 Page Mill Road
  12 Glancy Prongay & Murray LLP                    Palo Alto, CA 94304-1050
     1925 Century Park East, Suite 2100             Telephone: (650) 493-9300
  13 Los Angeles, Ca 90067-2561                     Email: aweibell@wsgr.com
     Telephone: (310) 201-9150                      Counsel for Defendants TikTok, Inc.
  14 Email: jrotter@glancylaw.com                   and ByteDance, Inc.
     Email: kwolke@glancylaw.com
  15 Email: glinkh@glancylaw.com
     Counsel for Plaintiff Bernadine
  16 Griffith
  17 Victor H. Jih
     Sarah Hsu
  18 Sophia M. Mancall-Bitel
     Shallen Torrez
  19 Kelly Yin
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  20 1900 Avenue Of The Stars 28th Floor
     Los Angeles, CA 90067
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     and ByteDance, Inc.
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             PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS, SET 3 (NOS. 69-72)
Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 31 of 32 Page ID #:1226




                    EXHIBIT 4
        Case 5:23-cv-00964-SB-E Document 74-3 Filed 11/09/23 Page 32 of 32 Page ID #:1227




From:                   Gloria Park <GPark@susmangodfrey.com>
Sent:                   Wednesday, November 1, 2023 5:47 AM
To:                     Campbell, Evan; Yin, Kelly; Hsu, Sarah; Torrez, Shallen; Mancall-Bitel, Sophie; Weibell, Tony; Jih, Victor
Cc:                     Christopher J. Lee; Ekwan E. Rhow; Gloria Park; Greg Fisk; Gregory B. Linkh; Houston Davidson; Jessica
                        D. Kinsey; Jonathan Rotter; K. Wolke; Kalpana Srinivasan; Marc E. Masters; Michael Gervais; Nicholas
                        Loaiza; Steven Sklaver
Subject:                Griffith/TikTok - Joint Stipulation re Pltfs' Mtn to Compel
Attachments:            2023-11-01 Griffith v. TikTok - Decl. of G.Park.pdf; Exhibits.zip; 2023-11-01 Griffith v. TikTok - Joint
                        Stipulation re Pltf's MTC.docx



EXTͲgpark@susmangodfrey.com
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Counsel,
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Pursuant to Local Rule 37-2.2, please see attached a joint stipulation regarding Plaintiff’s
Motion to Compel, as well as a supporting declaration and exhibits. Please send the stipulation
with Defendants’ statements inserted no later than November 8.
    
Best,
Gloria
    


Gloria Park | Susman Godfrey
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it immediately.

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